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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

 

SAN ANTONIO DIVISION
)
)
MIMEDX GROUP, INC., )
)
Plaintiff, )
)

v. ) Civil Case No. 5:14-cv-719 (RCL)

)
TISSUE TRANSPLANT )
TECHNOLOGY, LTD. d/b/a BONE )
BANK ALLOGRAFTS, and TEXAS )
HUMAN BIOLOGICS, LTD., )
)
Defendants. )
)
)

MEMORANDUM OPINION

 

I. INTRODUCTION

In this patent case, plaintiff MiMedX sued defendants Bone Banl< Allografts (“Bone
Bank”) and Texas Human Biologics, Ltd. (“THB”) for infringement of United States Patent Nos.
8,597,687 (“the ‘687 Patent”) and 8,709,494 (“the ‘494 Patent”). These patents pertain to a
product line of tissue grafts that are processed from human amniotic membranes derived from
donated placentas. On May 2, 2017, Magistrate Judge Primomo issued a Report and
Recommendation advising this Court as to the disposition of various motions filed under seal,
including plaintiffs motion for summary judgment regarding the eligibility of the ‘494 Patent,l
ECF No. 108, and defendants’ motion for summary judgment regarding non-infringement, ECF

No. 116. On September 7, 2017, this Court adopted the analysis in Magistrate Judge Primomo’s

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Report and Recommendation. Accordingly, this Court granted plaintiffs motion for summary

judgment, and granted in part and denied in part defendants’ motion for summary judgment

Since this Court issued its Memorandum Opinion and Order, the parties have filed
various additional motions. On October 4, 2017, plaintiff filed a motion for reconsideration of
summary judgment regarding the validity of the ‘494 Patent, ECF No. 205 . On October 25, 2017,
defendants filed an opposed motion for entry of final judgment and dismissal of certain
counterclaims, ECF No. 207.. On September 19, 2018, based on a recent decision by the Patent
Office, plaintiff filed a second motion for reconsideration, ECF No. 211, averring that the
determination by the Patent Of`fice stands in direct opposition to this Court’s previous Opinion
and Order and demonstrates error by -this Court. In light of this- second motion for
reconsideration, this Court ordered on September 27, 2018, ECF No. 212, that plaintiffs prior
motion for reconsideration [ECF No. 205] be denied without prejudice, and that this Court would
consider the parties’ positions with respect to that prior motion along with the new arguments
made by the parties upon conclusion of the briefing for the second motion. The Court in its
September 27, 2018 Order, ECF No. 212, also denied without prejudice defendants’ motion for
entry of final judgment and dismissal of certain counterclaims [ECF No. 207], stating that it will
determine whether to enter final judgment upon adjudication of the second motion for

reconsideration,

After consideration of these submissions, and in light of the entire record and applicable
law, this Court will uphold its prior grant of defendants’ motion for summary judgment
concerning the invalidity of the ‘494 Patent on the question of whether the patent requires _the
substantial removal of the spongy layer. However, this Court is revisiting its Opinion and Order

and denying defendants’ motion for summary judgment concerning invalidity of the ‘494 patent

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on the question of` whether Vishwakarma inherently disclosed retention of the epithelial layer. As
such, defendants’ motion for entry of final judgment and dismissal of certain counterclaims is

denied.
II. BACKGROUND

This case involves claims for infringement of the ‘687 Patent and the ‘494 Patent under
the patent laws of the United States, 35 U.S.C. §§ 100, et. seq. Am. Compl; 1, ECF No. 17.
Plaintiff MiMedx is a corporation that develops bio-medical products from placental tissues.
Relevant`to this case, MiMedx manufactures and markets “EpiFiX” and “AmnioFix,” two tissue
grafts processed from the membranes of human placenta. The Patents-in-Suit cover placental
tissue-based products: the .‘68_7 Patent is entitled “Meth_ods for Determining the O_rientation of a
Tissue Graft,” and the ‘494 Patent is entitled “Placental Tissue Grafts.” The ‘687 Patent was
filed on August 7, 2013, and the United States Patent and Trademark Office (“USPTO”) issued
the ‘687 Patent on December 3, 2013. The ‘494 Patent was filed on July 30, 2013, and the

USPTO issued the ‘494 Patent on April 29, 2014.

On May 16, 2014, MiMedx filed suit asserting infringement on the Patents-in-Suit. Orig.
Compl. 1. The original venue was the Austin Division of the Western District of Texas, but the
case was transferred to the San Antonio Division in the interests of justice under 28 U.S.C. §
1404(a). ECF No. 24. In its amended complaint, MiMedx alleged that THB and Bone Bank
process and prepare a line of products known as “SteriShield I,” “SteriShield II,” “Cygnus,” and
“Cygnus Solo,” which are tissue graft products that infringe on Claims 1,3,4,6, and 7 of the ‘687
Patent and Claim 9 of the ‘494 Patent. Am. Compl. 1, 6. On December 1, 2015, the defendants

filed a petition for Inter Partes Review (“IPR”) by the United States Patent Trials and Appeals

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Board (“PTAB”) concerning the claims at issue here.1 The PTAB denied IPR regarding the ‘494 l
Patent but granted IPR regarding the ‘687 Patent. On July 7, 2016, the PTAB invalidated the
‘687 Patent pursuant to 35 U.S.C. § 103(a), finding that Claims 1-7 were obvious in light of prior
art. Tissue Tr'ansplant Tech., Lta'. v. MiMedx Group, Inc., Case IPR 2015-00420, Patent
8,597,687 B2, 2016 WL 3648420, at *27-28 (Patent Tr. & App. Bd. July 7, 2016). As such, the

validity of the ‘687 Patent is no longer before the Court.

The instant motions concern only the validity of the ‘494 Patent with regard to Claim 9.
In September 2016, the parties filed motions for summary judgment regarding the eligibility of
Claim 9 ofthe ‘494 Patent. Pl.’s Mot. l, ECF No. 108; Defs.’ Mot. 1, ECF No. 116. Claim 9, in

its entirety, reads:

A dehydrated, laminated, placental tissue graft which is a laminate comprising two or
more separated and washed layers which layers are selected from amnion and/or chorion
wherein the layers are directly laminated to each other and at least one of said layers is
an amnion layer which retains an epithelial cellular layer.

ECF No. 96 (emphasis added). Magistrate Judge Primomo issued a Report and Recommendation
advising this Court as to the disposition of those motions. This Court adopted the Magistrate
Judge’s Report and Recommendation, for reasons detailed more fully in this Court’s
Memorandum Opinion, ECF No. 200. Relevant to the instant motions, however, the Court
adopted two of Magistrate Judge Primomo’s determinations First, the Court found that
Magistrate Judge Primomo did not err in construing the terms of Claim 9 not to include a
limitation requiring the removal of the spongy tissue. Second, the Court found that the
Magistrate Judge correctly determined that Vishwakarma’s 1986 article does not explicitly teach

removal of the epithelial cellular layer. On the basis of these findings, and others outlined in the

 

' IPR is a proceeding conducted by the PTAB to review the validity of a patent under 35 U.S.C. §§ 102
(novelty) or 103 (non-obviousness) on the basis of prior art, existing patents, or printed publications

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Court’s Memorandum Opinion, this Court overruled the parties’ objections to Magistrate Judge
Primomo’s Report and Recommendation. This Court granted plaintiff s motion for summary
judgment as to subject matter patentability under 35 U.S.C. § 101 , and denied defendants’
motion for summary judgment insofar as it argued that the ‘494 Patent is invalid under § 101`.
The Court granted defendants’ motion for summary judgment insofar as it argued that the ‘494
Patent is invalid as anticipated by Vishwakarma under 35 U.S.C. § 102, but denied defendants’

motion for summary judgment on all other grounds.-

On October 4, 2017, plaintiff filed their first motion for reconsideration of the portion of
this Court’. s Opinion that concluded that Claim 9 of the ‘494 Patent 1s invalid as anticipated by
Vishwakarma under 3‘2 U.S.C. § 102. Plaintiff presented two arguments in this motion. First,

.plaintiff argued that the éOurt erred as a matter of law when it construed Claim 9 not to require
substantial removal of the intermediate spongy layer. Second, plaintiff argued that the grant of
summary judgment of invalidity was erroneous because (1) defendants failed to carry their
burden to demonstrate inherent anticipation by clear and convincing evidence (the required
standard to show invalidity of an issued patent), and (2) the Court improperly removed the
factual question of what “denuded of mucus” means from the province of the jury. ECF No. 205.
Defendants responded that plaintiffs motion argues the same premises previously considered
and rejected by this Court, and so should be denied. ECF No. 206. Defendants also submitted an
opposed motion for entry of final judgment and dismissal of certain counterclaims, arguing that
defendants’ remaining counterclaims are moot in light of this Court’s grant of defendants’
motion for summary judgment concerning the invalidity of Claim 9 of the ‘494 Patent and the

PTAB’s Final Written Decision invalidating all claims of ‘687 Patent. ECF No. 207.

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On September 19, 2018, after the parties’ responses and replies on these motions,
plaintiffs submitted a second motion for reconsideration of the Court’s prior summary judgment
ruling of invalidity in light of the Patent Office’s September 7, 2018 Office Action determination
that the same reference on which the Court based its invalidity ruling (Vishwakarma) does not
render Claim 9 of the ‘494 Patent invalid. The Patent Office (1) construed Claim 9 to require
removal of the spongy layer, and (2) found that the Vishwakarma graft has a removed epithelial
layer, but not a removed spongy layer. ECF No. 211. Defendants submitted a response in
opposition to this second motion on October 3, 2018, ECF No. 213, and plaintiff replied to
defendants’ response on lOctober 10, 2018, ECF No. 214. The Court now considers the motions
that have b`een raised after this Court’s Memorandum Qpinion'and Order on September 7, 2017,

in light of plaintiff s second mo`tion for reconsideration and the respective responses

III. LEGAL STANDARDS

a. Relief from a Judgment or Order

Reconsideration of this Court’s prior stunmary judgment ruling is granted under Fed. R.
Civ. P. 60(b), which allows for “relief from a final judgment, order, or proceeding.” Fed. R. Civ.
P. 60(b). While “the Federal Rules of Civil Procedure do not provide for a motion for
reconsideration, such a motion may be considered either a Rule 5 9(e) motion to alter or amend
judgment or a Rule 60(b) motion for relief from judgment or order.” Shepherd V. Int ’l. Paper
Co., 372 F.3d 326 n. 1 (5th Cir. 2004) (intemal citations omitted). In the present case, this
Court’s September 7, 2017 Opinion and 'Order should be considered a final judgment, because
our grant of summary judgment with regard to the invalidity of Claim 9 of the ‘494 Patent
effectively mooted all of the remaining claims and counterclaims at that time. To this effect, the

Court entered the termination of this civil case in the docket on September 27, 2017. The current

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motion for reconsideration, therefore, will be considered as a motion for reconsideration of a

final judgment or order.

The Fifth Circuit has held that if such a motion “is filed within ten days of the judgment
or order of which the party complains, it`is considered a Rule 59(e) motion; otherwise, it is
treated as a Rule 60(b) motion.” Id. While this Court’s current review is not limited to plaintiffs
second motion`for reconsideration, it is prompted by it. As such, though this Court will also
consider earlier motions such as plaintiffs initial motion for reconsideration, ECF No.- 205, it
will do so under the auspices of Rule 60(b), because plaintiff s second motion for
reconsideration, which animates us now, was filed close to a year- after this Court’s September 7,

2017 Opinion and Order.

Rule 60(b) provides that a court may relieve a party or its legal representative from a final
judgment, order, or proceeding for “any other reason” not set forth in 60(b)(1)-(5) that justifies
relief.” Fed. R. Civ. P. 60(b)(6); see also Liljeberg v. Health Services Acquisition Corp., 486
U.S. 847, 848 (1988) (stating that Rule 60(b)(6) grants “broad authority to grant relief from a
final judgment ‘upon such terms as are just”’). The only filing constraint under Rule 60(b) is that
a motion under 60(b) must be made within a “reasonable time.” Fed. R. Civ. P. 60(c)(1). In light
of the fact that the Patent Office’s Final Office Action was filed on September 7, 2018, this
Court views plaintiffs second motion for reconsideration as having been filed within a

reasonable time.
b. Summary judgment

Summary judgment shall be rendered when the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine dispute as to any material fact

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and that the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); see
also Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986). A properly supported motion for
summary judgment will be defeated if there is a genuine dispute of material fact. Anderson v.
Libe`rly Lobby, Inc., 477 U.S. 242, 247-48 (1986). A fact is material if it could affect the outcome
of a case, and a dispute regarding a material fact is “genuine” if the evidence is such that a
reasonable jury could return a verdict in favor of the nonmoving party. Id. To survive summary
judgment, a nonmoving party must present specific facts or evidence that would allow a
reasonable factfinder to find in his favor on a material issue. Id.; see also Fed. R. Civ. P. 56(c).
When ruling on a motion for summary judgment, the court` is required to view all inferences

` drawn `from the factual record in` the light most favorable to the nonmoving party. Matsushita
Elec.l Indus. Co. v. Zem'th Radio Corp., 475 U.S. 574`, 587 (1986). In ruling on `a motion for
summary judgment, a court “may not make credibility determinations or weigh the evidence.”

Reeves v. Sanderson Plumbing Prods, Inc., 530 U.S. 133, 150 (2000).
c. Patent Law

Under § 282 of the U.S. Patent Act of 1952, “[a] patent shall be presumed valid,” and
“[t]he burden of establishing invalidity of a patent or any claim thereof shall rest on the party
asserting such invalidity.” 35 U.S.C. § 282. District Courts must find an invalidity defense to be

proved by “clear and convincing evidence.” Mz'crosoft Corp. v. i4i Lta'. Parz‘nership, 564 U.S. 91,

95 (2011).

One such invalidity defense, relevant to this opinion, is novelty under Section 102 of the
Patent Act of 1952. Section 102 provides that a person “shall be entitled .to a patent unless the
claimed invention was patented, described in a printed publication, or in public use, on sale, or

otherwise available to the public before the effective filing date of the claimed invention. 35

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U.S.C. § 102(a)(1). Under this novelty requirement,' a patent is invalid if it is anticipated by even
a single piece of prior art, so long as the prior art discloses “each and every limitation of the
claimed invention.” Schering Corp. v. Geneva Pharm., 339 F.3d 1373, 1377 (Fed. Cir. 2003).
Prior art may anticipate without explicitly disclosing a feature of the claimed invention if the
missing characteristic “is necessarily present, or inherent, in the single anticipating reference.”
Id. (citing Continental Can Co. v. Monsanto Co., 948 F.2d 1264, 1268 (Fed Cir. 1991)).
“[A]nticipation by inherent disclosure is appropriate only when the [single prior art] reference

discloses prior art that must necessarily include the unstated limitation.” Transclean Corp. v.

` l Bridgewood Servs., I)ic.? 290 F.3d 1364, 1373 (Fed. Cir. 2002). The determination of .

anticipation, including whether or not an element is inherent in the prior art, is a question of fact. '

Eli Lilly & Co. 15. Zenith Goldline Pharms`., Inc., 471 F.3d 1369, 1375 (Fed. Cir. 2006).

IV. ANALYSIS

a. This Court correctly determined that Claim 9 did not include a limitation for

removal of the spongy layer.

In this Court’s Memorandum Opinion, we determined that in light of the specification
and the relevant prosecution history of the ‘494 Patent, there is no support for plaintiff s
argument that Claim 9 of the ‘494 Patent includes a limitation for the removal, or substantial
removal, of the spongy tissue layer. ECF No. 200 at 17-26. Plaintiff argues that Vishwakarma
does not disclose removal of the spongy layer, ECF No. 211 at 19, so if Claim 9 requires
removal of the spongy layer, then Vishwakarma would not render Claim 9 invalid. At issue is
whether the prior art of Vishwakarma contains all of the limitations of the Patent-in-Suit’s claim

in order to render Claim 9 invalid.

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l This Court reached its conclusion that Claim 9 does not include a limitation'for removal
of the spongy layer on two grounds. First, this Court determined that it is not clear that the term
“wash” in Claim 9, as plaintiff argued, requires removal of the spongy tissue. Plaintiff argued
that language‘in the specification, describing the preferred embodiment of the invention,
indicates that washing or cleaning the amnion or chorion layer requires the removal of
“extraneous tissue” like the spongy layer [Pl.’s Obj. 5]. This Court was `not convinced by this
argument, finding that “.washing” may require the removal of blood clots, but could not require
the removal of the spongy layer, since there is no mention of “spongy” or “connective” tissue in
the specification, ECF No. 2`00 at 19. Similarly, this Court determined that a related passage 4
describing the cleaning of the amnion refers to “debris or contamination,” not to the removal of _
“extraneous tissue.” Ia'. at 20. Second, this Court` did not construe the term` “directly laminate” in
Claim 9 to require the removal of all, or substantially all, of the spongy tissue layer because that
limitation does not appear anywhere in the claim or the specification. Id. at 21. MiMedx’s
objection brief itself notes that “[w]hile extraneous tissue is substantially removed, remnants of
extraneous tissue, such as the spongy layer, may remain in the claimed graft,” making it clear
that Claim 9 cannot require removal of all the spongy tissue. Pl.’s Obj. 10. As such, plaintiff
argues that Claim 9 requires the “substantial removal” of the spongy tissue layer, pointing to the
prosecution history and the written history of the preferred embodiment of the invention. In
response, this Court pointed out that there is a longstanding Federal Circuit precedent against
importing claim limitations from the written descriptions and prosecution history, rather than
from the language of the claim itself. Texas Digital Systenis v. Telegenix, lnc., 308 13.3d 1193,
1204 (Fed. Cir. 2002) (compiling applicable Federal Circuit precedent). While this Court

determined that the specification may direct a person having ordinary skill in the art

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(“PHOSITA”) to remove extraneous tissue in some embodiments, this Court could not import
those directions into the term “directly laminated,” and those directions do not broaden or narrow
the scope of Claim 9. ECF No. 200 at 24-25. Therefore, because this Court found that Claim 9
does not include a limitation for removal of spongy tissue, it was not necessary for this Court to
reach the question of whether the prior art in Vishwakarma disclosed a graft that required

substantial removal of the spongy layer.

Plaintiffs second motion for reconsideration now asks this Court to revisit its claim
construction in light of the Patent Office’s September 7, 2018 Office Action. In the Office
Action, the Patent Office adopted the Declaration of Dr. Badylak, citing it for the proposition `
that the amnion and/or chorion layers of the claimed graft are “substantially cleaned to remove
the spongy/intermediate layer in order to achieve the ‘direct lamentation’ to each other” as -
required by the claim. Ex. 3 at 2-3 (quoting Ex. 4 at il 26), ECF No. 211. As such, plaintiff
argues that the Patent Office found that “directly laminated” requires substantial removal of the
spongy layer. ECF No. 211 at 16. Our Order found, by contrast, that the spongy layer is not part
of the “extraneous tissue” that must be substantially removed, because the specification did not
explicitly define “extraneous tissue” as including “spongy” or “connective” tissue. ECF No. 200
at 19-20. On this basis, plaintiff submits that this Court should revisit its claim construction.
Specifically, plaintiff argues that reconsideration is warranted as a legal matter because the claim
construction the Patent Office reached using the “broadest reasonable interpretation” (BRl)
standard is narrower than the claim construction this Court reached using the Phillips standard,
and as such, this Court’s claim construction is impermissibly broad. See, e.g., In re CBS-System

Ini’l lnc., 832 F.3d 1335, 1341 (Fed. Cir. 2016) (explaining that “if anything, the Phillips

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standard would result in a more narrow claim scope” than claim construction under the BRI

standard).

This Court finds that it is not necessary to revisit the claim construction in its Opinion in
light of the Patent Office’s ex parte reexamination Unlike the claim construction conducted by
the PTAB in its inter partes review of the ‘687 Patent, the PTO in this Office Action does little
more than adopt the declaration of Dr. Badylak, without undertaking any explicit claim
construction or analysis in its written decision. Even if this decision does indeed constitute a
bona fide effort at claim construction, this Court is “not bound by the examiner’s finding in the
ex parte application proceeding . particularly in light of the fact that the court heard extensive
evidence on the issue in an adversary hearing.” Pardue Pharma L.P. v. Faala'irtg Inc. , 230 F.-3d
1320, 1329 (Fed. éir. 2000). Furthermore, the.Federal Circuit has held that the Phillips standard
used by the district courts in patent claim construction, not the BRI standard, constitutes “the
best practices for claim construction.’_’ In re Translogic Technology, Irtc., 504 F.3d 1249, 1257
(Fed. Cir. 2007). While the purpose behind the PTO’s use of the BRI standard is to “allow the
examiner and the applicant to explore the broadest possible scope of the claim,” our purpose is
different; our purpose is to search “for the one ‘correct’ interpretation.” F lo Healthcare
Solutions, LLC v. Kappos, 697 F.3d 1367, 1378-79 (Fed. Cir. 2012) (cited in Laura E. Dolbow, A
Distinctiort Without a Difference.' Convergence in Claim Construction Stana'arals, 70:3 VAND. L.
REV. 1071 (2017)). As such, this Court is not bound by the Patent Office’s adoption of Dr.

Badylak’s construction in its ex parte reexamination proceeding

Plaintiff cites to a recent Federal Circuit case, as well as a number of District Court
decisions citing to that case, for the proposition that a district court’s interpretation using the

Phillips standard cannot be broader than a PTO claim construction using the BRI standard. See

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Facebook, Inc. v._PragmatusAl/, LLC, 582 F. App’x 864, 869 (Fed. lCir. 2014). But even
assuming, arguendo, that the PTO Office Action in the present case is undertaking claim
construction using the BRI standard, none of the cases plaintiff cites to resemble the posture of
the present case, Here, unlike those cases, the Court has already performed its claim
construction, and is now being asked, after the fact, to change its claim construction to resemble
that of the Patent Office. See, e.g., Nagravision SA v. Comcast Cable Commc ’ns LLC, No. 2:16-
CV-1362-JRG, 2017 WL 5257009, at *6 (E.D. Tex. Nov. 13, 2017) (performing claim
construction for the first time after the patent examiner made its interpretation); Choon ’s Design
lnc. v. Tristar Prods.', Inc.,| No. 14-10848, 2018 W-L.632107, at *5 .(E.D.' Mich. Jan. 30, 20`18)
(concluding that the PTAB’s construction under the BR_I standard is the same as t_he court’s
construction under Phillips). This` Court has found no Fede`ral Circuit precedent requiring district
courts to reverse their own claim constructions in light of interpretations adopted by the Patent
Office, and this Court declines to be the first to set this dangerous precedent In fact, the Federal
Circuit has conversely held that “[a] patent that has been adjudicated to' be valid cannot be
invalidated by administrative action, any more than a patent adjudicated to be invalid can be
restored to life by administrative action.” In re Baxter Intern., Inc., 678 F.3d 1357, 1368 (Fed.
Cir. 2012). To that end, the “interpretation and construction of patent claims, which define the
scope of the patentee’s rights under the patent, is a matter of law exclusively for the court.”

Markman v. Westview lnstrumerzts, Inc., 52 F.3d 967, 970-71 (Fed. Cir. 1995) (emphasis added).

Therefore, this Court will follow the Federal Circuit’s guidance that “[t]he Examiner’s
decision, on an original or reissue application, is never binding on a court. It is, however,
evidence the court must consider in determining whether the party asserting invalidity has met its

statutory burden by clear and convincing evidence.” Fromson v. Advance Ojjfset Plate, Inc. 755

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_ F.2d 1549, 1555 (Fed. Cir. 1985). We will, accordingly, consider the Patent Office’s recognition
of Dr. Badylak’s testimony as evidence for us to consider in our review of our determination
regarding whether the defendants have met their burden of proof But this Court still declines to
overturn its prior analysis. In its Final Office Action, the Patent Office provides this Court with
no analytical reasoning on the basis of which this Court should change its decision. And the rest
of the evidence, as submitted in plaintiffs first motion of reconsideration on the issue of
“directly laminated,” does not convince us either that we erred in our original analysis. Plaintiffs
argument in their first motion for reconsideration centers on the limitation that the applicant
added during the prosecution history stating that the layers“be directly`laminated to each other.”`
ECF No. 205 at 9. But it remains undisputed,` even according to defendants’ expert Dr. _
Mooradian, th`at the term “spongy layer” does not appear anywhere in the specification or claims
of the ‘494 Patent. Ex. D at 75 :23-76:4, ECF No. 60. This Court considers the patent’s
prosecution history in claim construction, as plaintiff requests that we do, but “because the
prosecution history represents an ongoing negotiation between the PTO and the applicant, rather
than the final product of that negotiation, it often lacks the clarity of the specification and thus is
less useful for claim construction purposes.” Phillips v. A WH Corp., 415 F.3d 1303, 1317 (Fed.
Cir. 2005) (intemal citations omitted). Prosecution history is especially useful to “resolve the
ambiguity of the specification,” in cases where an ambiguous term appears in the specification
but is open to differing interpretations See Microprocessor Enhancement Corp. v. Texas
Irtstruments Inc., 520 F.3d 1367, 1378 (Fed. Cir. -2008). But in the present case, the term spongy
tissue is nowhere to be found in the specification, figures, or claims. As such, there is no
ambiguous term to interpret This Court recognizes that a claim drafter is entitled to act as his

own lexicographer, but to do so, he must “clearly define terms used in the claims in the

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specification:” Sinorgchem Co., Shanciong v. lnt’l Trade Com ’rt,' 511 F.3d 1132 (Fed. Cir._2007).

Again, in the present case, the claim drafter has not done so.

The Court recognizes plaintiffs argument, based on its expert’s testimony, that a
PHOSITA would understand that the only “extraneous tissue” left on the amnion after use of a
blunt instrurnent, a finger, or a sterile non-particulating gauze would be remnants of_ the spongy
layer. See 11 49, ECF No. 124-3. But we cannot base our claim construction solely on the
extrinsic evidence of an expert opinion. While “extrinsic evidence may be useful to the court. .. it
is unlikely to result in a reliable interpretation of patent claim scope unless considered in the
context of the intrinsic evidence.” fhilltps v. AWH Corp., 415 ~F.3.d 1303,-1319 (Fed. éir. 2005).
'Here, the intrinsic evidence_the claim, specification, and prosecution history_simply do not
make it at all clear that there is a requirement for substantial removal of the spongy layer in all of
the invention’s embodiments. This was Magistrate Judge Primomo’s conclusion, this was this
Court’s conclusion, and neither the Patent Office nor plaintiff s first motion for reconsideration

has provided us with any substantial basis on which to change our interpretation

b. This Court grants plaintiff’s motion for reconsideration on the genuine issue
of material fact regarding whether Vishwakarma inherently disclosed

retention of the epithelial layer

Plaintiff argues that there is a disputed issue of material fact about whether the “denuded
of mucus” phrase in Vishwakarma inherently discloses'retention of the epithelial' layer, or
whether it teaches removal of the epithelial layer. Vishwakarma i_s an article published in'1986
describing a standardized technique for the manufacturing of placental tissue grafts, described as
an amniotic cap, for use after arthroplasty/hip surgery at a hospital in New Delhi. Ex. H, ECF

No. 110-9. The relevant phrase in Vishwakarma for our purposes states that “Amnion was

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separated from the chorion, and amniotic membrane, denuded of mucus, was collected in a
beaker containing normal saline.” Id. at 69. Plaintiff argues that Vishwakarma does not
inherently disclose retention of the epithelial layer, pointing to testimony from Dr. Badylak that
the word “denude” or “denudation” can mean “removal of the epithelial covering from any
surface.” Badylak Report 11 165, Ex. 10, ECF No. 170-13. Dr. Badylak argued that “denude” as
used in Vishwakarma means removal of an epithelial layer. Badylak Depo. 195:2-196:3, ECF
No. 170-20. Defendant’s expert, Dr. Mooradian, conceded that “denude” means to remove, but
argued that it is not universally used to mean removal of an epithelial layer. Mooradian Depo.
139210, ECF No. 124-7. As such, plaintiff argues that this is a “cla`ssic battle of the experts” and
a jury should decide the question of whether Vishwakarma anticipated the ‘494 Patent. ECF No.

200 at 27.'

This Cou_rt found that plaintiff attempted to create a factual dispute surrounding the word
“denude” by offering testimony that this word, used alone, means to remove an epithelial cellular
layer. However, in Vishwakarma, the word “denude” modifies the prepositional phrase “of
mucus,” so this Court determined that the way “denude” might be defined on its own is not
relevant. Addressing this, plaintiff cited Dr. Badylak’s conclusion that Vishwakarma’s use of the
word “mucus” was a mistake, and Vishwakarma actually meant to use the word “mucosa,”
referring to a mucus membrane with an epithelial layer. ECF No. 200 at 29. But this Court found
this assertion to be conclusory and speculative because plaintiff offers no evidence that
Vishwakarma’s author mistakenly used the term “mucus” instead of “mucosa,” and
“[c[onclusory, unsupported assertions by experts as to the definition of a claim term are not
useful to a court.” Phillips v. AWH Corp., 415 F.3d 1303, 1318 (Fed. Cir. 2005) (en banc). As

such, this Court concluded that in the absence of»a step teaching removal of epithelial layers,

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those layers would be retained, and so Vishwakarma inherently discloses retention of the
epithelial layer. Because the ‘494 Patent also does not teach the removal of the epithelial layer,
Vishwakarma was deemed to anticipate Claim 9, and the Court granted defendants’ motion for
summary judgment insofar as it argued that the ‘494 Patent is invalid under 35 U.S.C. § 102.`

ECF No. 200 at 36.

In their second motion for reconsideration, plaintiff argues that this Court should have
denied defendants’ motion for summary judgment as it relates to anticipation by Vishwakarma in
light of the September 7, 2018 Patent Office Action. Contrary to this Court’s finding that there
was `no disputed evidence concerning whether Vishwakarma taught a~removed epithelial layer,
the l)atent Office both found that Vishwakarma teaches`a removed epithelial layer and credited
l Dr. Badylak’s testimony`. Specifically, the Patent (9ffice found that the epithelial layers are not
present in the amnion layers of Vishwakarma’s graft, as required by Claim 9 of the ‘494 Patent,
because the phrase “denuded of mucus” as used in Vishwakarma means the removal of the
epithelial layer. Ex. 3 at 3, 5 , ECF No. 211. The Patent Office credits the Badylak declaration in

support of this conclusion, citing his testimony, Id. (citing Ex. 4 at 1[ 30-34).

In contrast with the spongy tissue issue discussed above, where this Court properly
carried out its own responsibility under Phillips to conduct claim constructions, the epithelial
layer issue tasks this Court with weighing the opinions of two experts and making a credibility
determination This alters our position in two ways. First, in such a case this Court recognizes
that “[c]redibility determinations,` the weighing of the evidence, and the drawing of legitimate
inferences from the facts are jury functions, not those of a judge, whether he is ruling on a
motion for summary judgment or for a directed verdict.” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 255 (1986). Second, this Court must show added deference to the expertise of the

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Patent Office on technical findings especially when it comes to the interpretation of prior art
references. Where the PTO has made a finding, the attacker of a patent’s validity has “the added
burden of overcoming the deference that is due to a qualified government agency presumed to
have properly done its job, which includes one or more examiners who are assumed to have
some expertise in interpreting the references and to be familiar from their work with the level of
skill in the art and whose duty it is to issue only valid patents.” Am. Hoist & Derrick Co. v. Sowa
& Sons, Inc., 725 F.2d 1350, 1359 (Fed. Cir. 1984). Furthermore, “[w]here, as here, it is shown l
that the patent office considered prior art as close to the patented invention as any suggested to
the court, thel court should be extremely reluctant to substitute `its opinion for the expertise of the

patent office.” lngersoll-Rarid Co. v.` Brunner & Lay, lnc., 474 F.2d 491, 496 (5th Cir. 1`973).

n Defendants argue that the. Patent Office’s decision lacks credibility because there is no
evidence that the Patent Office considered this Court’s opinion or Dr. Mooradian’s testimony.
But while defendants are correct that that this Court’s Order and the exhibit containing Dr.
Mooradian’s testimony were omitted from MiMedx’s information disclosure statements (“IDS”),
defendants admit that MiMedx did submit Judge Primomo’s Memorandum and
Recommendation to the Patent Office, which directly cited defendants’ expert Dr. Mooradian on
the epithelial layer issue. ECF No. 164 at 32. We refuse to believe that the Patent Office, which
regularly conducts these examinations, did not at least identify and consider Dr. Mooradian’s
testimony before coming to its decision. This conclusion is supported by the fact that numerous
additional documents citing Dr. Mooradian’s opinion were sent to the PTO by plaintiff. Ex. 19,
ECF No. 214. Furthermore, the Manual of Patent Examining Procedure requires examiners to
review litigation related to any patent under reexamination, MPEP § 2286, and examiners are

encouraged to seek out “additional information” regarding the litigation when desirable. MPEP §

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2240. Additionally, the Patentl Office performed three litigation searches over the_course of the
‘494 Patent reexamination, and all three returned this case’s full litigation docket. See Ex’s. 4-6,
ECF No. 214. This Court’s Order was specifically noted in both of the searches performed after
the Order was issued. Ex. 5 at 54; Ex. 6 at 59, ECF No. 214. This litigation was also referenced
repeatedly throughout the reexamination proceedings, including in the initial reexamination
request and in the Patent Office’s Order Granting Reexamination. ECF No. 211-2 at 16; ECF No.
211-3 at 7. Finally, even if the Patent Office had not seen Dr. Mooradian testimony, the office
would not have credited Dr. Badylak’s testimony if it did not find it to be credible enough in its
own right. Therefore, defendants’ attempt to call into question the legitimacy`of the lj’atent.
lOffice’s decision_ on this ground, ECF No. 213 at 5`, carries little weight in light of the record a_nd

in light of the basic competency with which we presume the Patent Office operated.

While we decline to adopt the Patent Office’s claim constructions by rote when we are
not offered any reasoning either by the .PTO or by plaintiffs briefing for doing so, here we award
the Patent Office’s determination deference because we recognize that it is not the role of this
Court to make credibility determinations on summary judgment This is especially the case
where the Patent Office has sided with an expert with whom we disagreed. It remains true, as we
noted above, that “[w]hile the [district] court must consider the reexamination as evidence, it is
not bound by the PTO’s decision.” Gator Tail, LLC v. Mud Bua'a'y LLC, 618 F. App’x 992, 998
(Fed. Cir. 215). Specifically, the Federal Circuit has held that this Court is “not bound by the
examiner’s finding in the ex parte application proceeding .. particularly in light _of the fact that
the court heard extensive evidence on the issue in an adversary hearing.” Pura'ue Pharma L.P. v.
Faulding Inc., 230 F.3d 1320, 1329 (Fed. Cir. 2000). But the question presently before this Court

is not whether the Patent Office’s determination is binding, or even particularly persuasive. The

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question for this Court, when deciding whether to grant or deny a motion for summary judgment,
is whether there is a genuine dispute as to any material fact, Fed. R. Civ. P. 56(a), viewing all
inferences drawn from the factual record in the light most favorable to the nonmoving party.
Matsushita Elec. ]ndus. Co. v.` Zenith Radio Corp., 475 U.S. 574, 587 (1986). Viewing all
inferences in the light most favorable to MiMedx, this Court admits that there is now a genuine

dispute as to material fact with regard to the prior art of Vishwakarma

This Court’s prior conviction that there is no genuine dispute over a material fact here is
called into question by the Patent Office’s new determination It is further undermined by
plaintiffs new emphasis on the references of Volkov, Sackier, and Do_rland’s Illustrated Medical
v Dictionary in the first motion for reconsideration; ECF No. 205. Plaintiff presents compelling
evidence that in Sackier, “denuded of mucus” involves removing the epithelial cells. ECF No.
208 a;t 13. Plaintiff also presents compelling evidence that Volkov, which contains similar
processing steps to Vishwakarma, references the term “mucous layer” rather than “mucus.” ECF
No. 205 at 19-20. This reading is further confirmed by Dorland’s Dictionary definition of
“denudation” to mean “removal of the epithelial covering from any surface.” Id. These
arguments lend more weight to the existing difficulties that plaintiff has noted in the testimony of
defendants’ expert, Dr. Mooradian See 150:13-152:12, ECF No. 124-7 (where Dr. Mooradian
speculates that Vishwakarma was referring to the spongy layer by using the word mucus because
it is “mucus-like.”). Indeed, Dr. Mooradian appears to have retreated from his definition of
mucus when he agrees that there is no mucus in amniotic tissue. ECF No. 124-7 at 142:17-
144:10. If there is no mucus in amniotic tissue, then Vishwakarma could not have been referring
to denuding the amniotic tissue of mucus, and determining what Vishwakarma was in fact

referring to remains an open question As such, contrary to defendants’ arguments, this Court

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does not believe that the concerns we have about their own expert are a “red herring.” ECF No.

206 at 15.

This Court still recognizes that plaintiff presents no direct evidence that Vishwakarma
mistakenly used the term “mucus” instead of “mucosa,” ECF No. 200 at 30. Additionally, this
Court recognizes defendants’ argument that the plain language of Vishwakarma should not be
changed to the plain language of yolkov, and we note defendants’ position that Sackier directly
contradicts Dr. Badylak’s testimony because Sackier uses the term “denude” generally to refer to
“remove. ” ECF No. 206 at 12-13. But at the same time, this Court cannot deny that Dr.
Badylak’s interpretation of Vishwakarma aligns with Vishwakarma’s “stated goal of maintaining
mobility 1n between the various amniotic layers of the amniotic cap. ” ECF No. 170- 13 at 53- 54.
This Court also cannot ignore the fact that Dr. Badylak stated firmly that “one of skill in the -art
would also understand that there is no ‘mucus’ in a human placenta,” supporting his expert
opinion that “mucus” in Vishwakarma refers to a “mucosa.” Ex. 4 at 11 32, ECF No. 211. What
we have, at best, is competing experts with differing understandings of similar and sometimes
confused terminology. In light of this newly invigorated battle of the experts, defendants have no'
longer clearly established their invalidity by anticipation defense by the clear and convincing
standard that district courts must apply. See Microsoft Corp. v. i4i Lta’. Partnership, 131 S. Ct.
2238 (1986). We therefore reverse our prior grant of summary judgment on the question of
whether Vishwakarma anticipated Claim 9 of the ‘494 Patent and, by default, deny defendants’

prior motion for entry_.of final judgment and dismissal of certain counterclaims

V. CONCLUSION

In sum, plaintiff s second motion for reconsideration will be granted in part and denied in

part. For the reasons articulated above, the Court will grant plaintiff s motion for reconsideration

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regarding whether the ‘494 Patent is invalid as anticipated by Vishwakarma under 35 U.S.C. §
102 as to the issue of the retention or removal of the epithelial layer in Vishwakarma, but not as
to the issue of the retention or removal of the spongy layer in the_‘494 Patent. As such,
defendants’ motion for entry of final judgment and dismissal of certain counterclaims is denied,

and all other motions filed after this Court’s Opinion and Order are rendered moot.

. A separate order shall issue.

Date: December /_/ , 2018 - ' €L(C- w _

Royce C. Lamberth l
United States District Judge

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